Case 2:21-cv-06508-JFW-SHK Document 1-1 Filed 08/11/21 Page 1 of 38 Page ID #:6




                        EXHIBIT A
Electronically FILED by Superior Court of California, County of Los Angeles on 06/16/2021 03:18 PM Sherri R. Carter, Executive Officer/Clerk of Court, by C. Monroe,Deputy Clerk
                                                                                                      Case 2:21-cv-06508-JFW-SHK Document 1-1 Filed 08/11/21 Page 2 of 38 Page ID #:7
                                                                                                                                      21STCV22571
                                                                                                                 Assigned for all purposes to: Stanley Mosk Courthouse, Judicial Officer: Holly Fujie




                                                                                                        1   Timothy A. Hall, SBN 227666
                                                                                                            Law Offices of Hall & Lim
                                                                                                        2   16430 Ventura Boulevard, Suite 200
                                                                                                            Encino, California 91436
                                                                                                        3   Telephone: (310) 203-8411
                                                                                                            Facsimile: (310) 203-8412
                                                                                                        4

                                                                                                        5   Attorneys for Plaintiff: CALEY-RAE PAVILLARD

                                                                                                        6

                                                                                                        7

                                                                                                        8                         SUPERIOR COURT OF THE STATE OF CALIFORNIA

                                                                                                        9                          COUNTY OF LOS ANGELES – CENTRAL DISTRICT

                                                                                                       10
                        ____
    LAW OFFICES OF HALL & LIM




                                                                                                       11   CALEY-RAE PAVILLARD, an individual,                              Case No.:
                                                                 16430 Ventura Boulevard, Suite 200
                                A PROFESSIONAL LAW CORPORATION


                                                                      Encino, California 91436




                                                                                                       12            Plaintiff,                                              COMPLAINT FOR DAMAGES FOR
                                                                                                                                                                             NONPAYMENT OF WAGES AND
                                                                                                       13      vs.                                                           WAITING TIME PENALTIES (LABOR
                                                                                                                                                                             CODE § 203)
                                                                                                       14   FANATICS, INC., a Delaware corporation;
                                                                                                            and DOES 1-50 inclusive,
                                                                                                       15
                                                                                                                     Defendants.
                        ____




                                                                                                       16

                                                                                                       17   Plaintiff CALEY-RAE PAVILLARD alleges as follows:

                                                                                                       18

                                                                                                       19                                                            PARTIES

                                                                                                       20      1.      Plaintiff CALEY-RAE PAVILLARD (hereinafter referred to as “PLAINTIFF”) is, and

                                                                                                       21   at all times mentioned herein was, a resident of Los Angeles, in the State of California.

                                                                                                       22      2.      Defendant FANATICS, INC., a Delaware corporation, (hereinafter referred to as

                                                                                                       23   “DEFENDANT”) is, and at all times mentioned herein was, a corporation organized and existing

                                                                                                       24   under the laws of the State of Delaware, and at all times mentioned herein had its principal office

                                                                                                       25   in Jacksonville, Florida.
                                                                                                                                                                           -1-
                                                                                                                                                     COMPLAINT FOR DAMAGES
                                                                                                  Case 2:21-cv-06508-JFW-SHK Document 1-1 Filed 08/11/21 Page 3 of 38 Page ID #:8



                                                                                                    1       3.    PLAINTIFF is informed and believes and thereon alleges that those Defendants named

                                                                                                    2   herein as unidentified DOES 1 through 50 inclusive (hereinafter referred to as “DOES”) are, and

                                                                                                    3   at all times material hereto were, legally responsible in all manners for the occurrences, the

                                                                                                    4   nonpayment of wages, and the waiting time penalties damages herein complained of, and further,

                                                                                                    5   that each DOE is, and at all times material hereto was, acting as an agent, servant, employee,

                                                                                                    6   representative, managing agent, partner, principal, alter ego, affiliate, or co-conspirator with

                                                                                                    7   DEFENDANTS, with the knowledge, consent, and ratification of DEFENDANTS in causing or

                                                                                                    8   permitting the occurrences, the nonpayment of wages, and the waiting time penalties damages

                                                                                                    9   herein complained of.

                                                                                                   10       4.    All Defendants are hereinafter collectively referred to as “DEFENDANTS”.
                    ____
LAW OFFICES OF HALL & LIM




                                                                                                   11                                    JURISDICTION AND VENUE
                                                             16430 Ventura Boulevard, Suite 200
                            A PROFESSIONAL LAW CORPORATION


                                                                  Encino, California 91436




                                                                                                   12       5.    Venue is proper in this Court because the acts complained of took place in this

                                                                                                   13   jurisdiction.

                                                                                                   14                                     GENERAL ALLEGATIONS

                                                                                                   15       6.    PLAINTIFF is a model who earns a living by modeling and offering the use of her
                    ____




                                                                                                   16   image and likeness for the promotion of products and services in exchange for compensation.

                                                                                                   17       7.    PLAINTIFF is informed and believes and thereon alleges that DEFENDANTS are a

                                                                                                   18   company focused on the promotion of goods and the end user of PLAINTIFF’s services as a

                                                                                                   19   model at a photography shoot for which PLAINTIFF rendered her services.

                                                                                                   20                                             FIRST COUNT

                                                                                                   21        (Wages and Waiting Time Penalties Under Labor Code § 203 For Employment on

                                                                                                   22                       June 25, 2018 – June 26, 2018 – Against All Defendants)

                                                                                                   23       8.    PLAINTIFF re-alleges paragraphs 1 through 7 above, and incorporates the same by

                                                                                                   24   reference as though fully set forth herein.

                                                                                                   25       9.    In June 2018, in the City of Los Angeles, California, DEFENDANTS employed
                                                                                                                                                         -2-
                                                                                                                                         COMPLAINT FOR DAMAGES
                                                                                                  Case 2:21-cv-06508-JFW-SHK Document 1-1 Filed 08/11/21 Page 4 of 38 Page ID #:9



                                                                                                    1   PLAINTIFF as a model for a photography shoot. That employment began on June 25, 2018 and

                                                                                                    2   concluded on June 26, 2018. In the course of that employment, PLAINTIFF performed modeling

                                                                                                    3   services pursuant to and under the direction and complete control of DEFENDANTS and their

                                                                                                    4   personnel and agents.

                                                                                                    5      10.     PLAINTIFF’s employment with DEFENDANTS was pursuant to an employment

                                                                                                    6   agreement pursuant to which the employment was to last for two days, and for which

                                                                                                    7   DEFENDANTS agreed to pay PLAINTIFF wages at the rate of $5,000.00 for the two days of

                                                                                                    8   employment.

                                                                                                    9      11.     Pursuant to Labor Code section 201, PLAINTIFF was entitled to be paid the wages by

                                                                                                   10   DEFENDANTS upon discharge from PLAINTIFF’s employment, which discharge occurred
                    ____
LAW OFFICES OF HALL & LIM




                                                                                                   11   upon PLAINTIFF’s completion of the employment on June 26, 2018.
                                                             16430 Ventura Boulevard, Suite 200
                            A PROFESSIONAL LAW CORPORATION


                                                                  Encino, California 91436




                                                                                                   12      12.     Despite having discharged PLAINTIFF from her employment, DEFENDANTS failed to

                                                                                                   13   timely pay PLAINTIFF her wages upon discharge. DEFENDANTS did not make payment of

                                                                                                   14   PLAINTIFF’s wages until August 17, 2018, more than thirty days after the date upon which

                                                                                                   15   DEFENDANTS discharged PLAINTIFF from her employment.
                    ____




                                                                                                   16      13.     DEFENDANTS’ failure to timely pay PLAINTIFF her wages was willful in that

                                                                                                   17   DEFENDANTS were required to make timely payment, were able to do so, but chose not to do

                                                                                                   18   so, thus entitling PLAINTIFF to receive the payment of a penalty under Labor Code section 203.

                                                                                                   19   Labor Code section 203 provides that upon an employer’s failure to make timely payment of

                                                                                                   20   wages, the employee’s wages shall continue as a penalty until paid or for a period of up to 30

                                                                                                   21   days from the time the wages came due, whichever period is shorter.

                                                                                                   22      14.     Pursuant to the provisions of Labor Code section 203, PLAINTIFF is entitled to an

                                                                                                   23   award of penalties in the amount of $75,000.00, which is PLAINTIFF’s daily rate multiplied by

                                                                                                   24   30 days.

                                                                                                   25      15.     Pursuant to the provisions of Labor Code section 218.5, PLAINTIFF is additionally
                                                                                                                                                        -3-
                                                                                                                                        COMPLAINT FOR DAMAGES
                                                                                              Case 2:21-cv-06508-JFW-SHK Document 1-1 Filed 08/11/21 Page 5 of 38 Page ID #:10



                                                                                                   1   entitled to an award of his reasonable attorneys’ fees and costs incurred herein.

                                                                                                   2                                                PRAYER

                                                                                                   3   WHEREFORE, PLAINTIFF prays for Judgment against DEFENDANTS, and each of them, as

                                                                                                   4   follows:

                                                                                                   5      1. For penalties in the amount of $75,000.00 pursuant to Labor Code section 203;

                                                                                                   6      2. For reasonable attorneys’ fees pursuant to Labor Code section 218.5;

                                                                                                   7      3. For costs of suit incurred herein; and

                                                                                                   8      For any other and further relief that the Court considers just and proper.

                                                                                                   9

                                                                                                  10
                                                                                                                   16 2021
                                                                                                       Dated: June ___,                                      LAW OFFICES OF HALL & LIM
                    ____
LAW OFFICES OF HALL & LIM




                                                                                                  11
                                                             16430 Ventura Boulevard, Suite 200
                            A PROFESSIONAL LAW CORPORATION


                                                                  Encino, California 91436




                                                                                                  12
                                                                                                                                                             By: ___________________________
                                                                                                  13                                                             Timothy A. Hall, Esq.
                                                                                                                                                                 Attorneys for Plaintiff:
                                                                                                  14                                                             CALEY-RAE PAVILLARD

                                                                                                  15
                    ____




                                                                                                  16

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                                                                                                  18

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                                                                                                  25
                                                                                                                                                       -4-
                                                                                                                                       COMPLAINT FOR DAMAGES
             Case 2:21-cv-06508-JFW-SHK Document 1-1 Filed 08/11/21 Page 6 of 38 Page ID #:11
Electronically FILED by Superior Court of California, County of Los Angeles on 06/18/2021 12:55 PM Sherri R. Carter, Executive Officer/Clerk of Court, by V. Delgadillo,Deputy Clerk
                                                                                   21STCV22571
                                                                                                                                                                       SUM-100
                                                    SUMMONS                                                                                FOR COURT USE ONLY
                                                                                                                                       (SOLO PARA USO DE LA CORTE)
                                           (CITACION JUDICIAL)
      NOTICE TO DEFENDANT:
      (AVISO AL DEMANDADO):
      FANATICS, INC. a Delaware corporation; and DOES 1-50 inclusive

      YOU ARE BEING SUED BY PLAINTIFF:
      (LO ESTÁ DEMANDANDO EL DEMANDANTE):
      CALEY-RAE PAVILLARD, an individual

       NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
       below.
          You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
       served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
       case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
       Online Self-Help Center (www.courtinfo.ca.gov/selfhelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask
       the court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property
       may be taken without further warning from the court.
           There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
       referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
       these nonprofit groups at the California Legal Services Web site (www.lawhelpcalifornia.org), the California Courts Online Self-Help Center
       (www.courtinfo.ca.gov/selfhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
       costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
       ¡AVISO! Lo han demandado. Si no responde dentro de 30 días, la corte puede decidir en su contra sin escuchar su versión. Lea la información a
       continuación.
          Tiene 30 DÍAS DE CALENDARIO después de que le entreguen esta citación y papeles legales para presentar una respuesta por escrito en esta
       corte y hacer que se entregue una copia al demandante. Una carta o una llamada telefónica no lo protegen. Su respuesta por escrito tiene que estar
       en formato legal correcto si desea que procesen su caso en la corte. Es posible que haya un formulario que usted pueda usar para su respuesta.
       Puede encontrar estos formularios de la corte y más información en el Centro de Ayuda de las Cortes de California (www.sucorte.ca.gov), en la
       biblioteca de leyes de su condado o en la corte que le quede más cerca. Si no puede pagar la cuota de presentación, pida al secretario de la corte
       que le dé un formulario de exención de pago de cuotas. Si no presenta su respuesta a tiempo, puede perder el caso por incumplimiento y la corte le
       podrá quitar su sueldo, dinero y bienes sin más advertencia.
         Hay otros requisitos legales. Es recomendable que llame a un abogado inmediatamente. Si no conoce a un abogado, puede llamar a un servicio de
       remisión a abogados. Si no puede pagar a un abogado, es posible que cumpla con los requisitos para obtener servicios legales gratuitos de un
       programa de servicios legales sin fines de lucro. Puede encontrar estos grupos sin fines de lucro en el sitio web de California Legal Services,
       (www.lawhelpcalifornia.org), en el Centro de Ayuda de las Cortes de California, (www.sucorte.ca.gov) o poniéndose en contacto con la corte o el
       colegio de abogados locales. AVISO: Por ley, la corte tiene derecho a reclamar las cuotas y los costos exentos por imponer un gravamen sobre
       cualquier recuperación de $10,000 ó más de valor recibida mediante un acuerdo o una concesión de arbitraje en un caso de derecho civil. Tiene que
       pagar el gravamen de la corte antes de que la corte pueda desechar el caso.

     The name and address of the court is:                                                                                CASE NUMBER:
                                                                                                                          (Número del Caso):
     (El nombre y dirección de la corte es):
      Los Angeles County Superior Court - Stanley Mosk Courthouse
      111 North Hill Street, Los Angeles, California 90012
     The name, address, and telephone number of plaintiff's attorney, or plaintiff without an attorney, is:
     (El nombre, la dirección y el número de teléfono del abogado del demandante, o del demandante que no tiene abogado, es):
      Timothy A. Hall, Law Offices of Hall & Lim, 16430 Ventura Blvd, Ste 200, Encino, CA 91436, 310-203-8411

     DATE:                                                                Clerk, by                                                                                     , Deputy
     (Fecha)                                                              (Secretario)                                                                                   (Adjunto)
     (For proof of service of this summons, use Proof of Service of Summons (form POS-010).)
     (Para prueba de entrega de esta citatión use el formulario Proof of Service of Summons, (POS-010)).
                                       NOTICE TO THE PERSON SERVED: You are served
      [SEAL]
                                       1.      as an individual defendant.
                                       2.      as the person sued under the fictitious name of (specify):


                                               3.          on behalf of (specify):

                                                    under:            CCP 416.10 (corporation)                                      CCP 416.60 (minor)
                                                                      CCP 416.20 (defunct corporation)                              CCP 416.70 (conservatee)
                                                                      CCP 416.40 (association or partnership)                       CCP 416.90 (authorized person)
                                                                   other (specify):
                                               4.          by personal delivery on (date):
                                                                                                                                                                           Page 1 of 1
       Form Adopted for Mandatory Use
         Judicial Council of California
                                                                                    SUMMONS                                                      Code of Civil Procedure §§ 412.20, 465
                                                                                                                                                                   www.courtinfo.ca.gov
         SUM-100 [Rev. July 1, 2009]
       Case 2:21-cv-06508-JFW-SHK Document 1-1 Filed 08/11/21 Page 7 of 38 Page ID #:12
                                                                                                Reserved for Clerk’s File Stamp
                  SUPERIOR COURT OF CALIFORNIA
                     COUNTY OF LOS ANGELES
  COURTHOUSE ADDRESS:
 Stanley Mosk Courthouse
 111 North Hill Street, Los Angeles, CA 90012

                   NOTICE OF CASE ASSIGNMENT
                          UNLIMITED CIVIL CASE

                                                                                 CASE NUMBER:

  Your case is assigned for all purposes to the judicial officer indicated below. 21STCV22571

                           THIS FORM IS TO BE SERVED WITH THE SUMMONS AND COMPLAINT

                ASSIGNED JUDGE               DEPT     ROOM                  ASSIGNED JUDGE                       DEPT             ROOM
   ✔     Holly J. Fujie                     56




    Given to the Plaintiff/Cross-Complainant/Attorney of Record   Sherri R. Carter, Executive Officer / Clerk of Court
       06/17/2021
    on _____________________________                                        C. Monroe
                                                                         By __________________________________, Deputy Clerk
                 (Date)
LACIV 190 (Rev 6/18)       NOTICE OF CASE ASSIGNMENT – UNLIMITED CIVIL CASE
LASC Approved 05/06
      Case 2:21-cv-06508-JFW-SHK Document 1-1 Filed 08/11/21 Page 8 of 38 Page ID #:13
                                   INSTRUCTIONS FOR HANDLING UNLIMITED CIVIL CASES

The following critical provisions of the California Rules of Court, Title 3, Division 7, as applicable in the Superior Court, are summarized
for your assistance.

APPLICATION
The Division 7 Rules were effective January 1, 2007. They apply to all general civil cases.

PRIORITY OVER OTHER RULES
The Division 7 Rules shall have priority over all other Local Rules to the extent the others are inconsistent.

CHALLENGE TO ASSIGNED JUDGE
A challenge under Code of Civil Procedure Section 170.6 must be made within 15 days after notice of assignment for all purposes
to a judge, or if a party has not yet appeared, within 15 days of the first appearance.

TIME STANDARDS
Cases assigned to the Independent Calendaring Courts will be subject to processing under the following time standards:

COMPLAINTS
All complaints shall be served within 60 days of filing and proof of service shall be filed within 90 days.

CROSS-COMPLAINTS
Without leave of court first being obtained, no cross-complaint may be filed by any party after their answer is filed. Cross-
complaints shall be served within 30 days of the filing date and a proof of service filed within 60 days of the filing date.

STATUS CONFERENCE
A status conference will be scheduled by the assigned Independent Calendar Judge no later than 270 days after the filing of the
complaint. Counsel must be fully prepared to discuss the following issues: alternative dispute resolution, bifurcation, settlement,
trial date, and expert witnesses.

FINAL STATUS CONFERENCE
The Court will require the parties to attend a final status conference not more than 10 days before the scheduled trial date. All
parties shall have motions in limine, bifurcation motions, statements of major evidentiary issues, dispositive motions, requested
form jury instructions, special jury instructions, and special jury verdicts timely filed and served prior to the conference. These
matters may be heard and resolved at this conference. At least five days before this conference, counsel must also have exchanged
lists of exhibits and witnesses, and have submitted to the court a brief statement of the case to be read to the jury panel as required
by Chapter Three of the Los Angeles Superior Court Rules.

SANCTIONS
The court will impose appropriate sanctions for the failure or refusal to comply with Chapter Three Rules, orders made by the
Court, and time standards or deadlines established by the Court or by the Chapter Three Rules. Such sanctions may be on a party,
or if appropriate, on counsel for a party.

This is not a complete delineation of the Division 7 or Chapter Three Rules, and adherence only to the above provisions is
therefore not a guarantee against the imposition of sanctions under Trial Court Delay Reduction. Careful reading and
compliance with the actual Chapter Rules is imperative.

Class Actions
Pursuant to Local Rule 2.3, all class actions shall be filed at the Stanley Mosk Courthouse and are randomly assigned to a complex
judge at the designated complex courthouse. If the case is found not to be a class action it will be returned to an Independent
Calendar Courtroom for all purposes.

*Provisionally Complex Cases
Cases filed as provisionally complex are initially assigned to the Supervising Judge of complex litigation for determination of
complex status. If the case is deemed to be complex within the meaning of California Rules of Court 3.400 et seq., it will be
randomly assigned to a complex judge at the designated complex courthouse. If the case is found not to be complex, it will be
returned to an Independent Calendar Courtroom for all purposes.




LACIV 190 (Rev 6/18)        NOTICE OF CASE ASSIGNMENT – UNLIMITED CIVIL CASE
LASC Approved 05/06
     Case 2:21-cv-06508-JFW-SHK Document 1-1 Filed 08/11/21 Page 9 of 38 Page ID #:14



SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
Branch Name: Stanley Mosk Courthouse
Mailing Address: 111 North Hill Street
City, State and Zip Code: Los Angeles CA 90012



SHORT TITLE: CALEY-RAE PAVILLARD vs FANATICS, INC.                               CASE NUMBER:
                                                                                 21STCV22571
         NOTICE OF CONFIRMATION OF ELECTRONIC FILING

The Electronic Filing described by the below summary data was reviewed and accepted by the Superior Court of
California, County of LOS ANGELES. In order to process the filing, the fee shown was assessed.

Electronic Filing Summary Data

Electronically Submitted By: Legal Connect
Reference Number: 4392505_2021_06_16_22_14_51_305_5
Submission Number: 21LA03703566
Court Received Date: 06/16/2021
Court Received Time: 3:18 pm
Case Number: 21STCV22571
Case Title: CALEY-RAE PAVILLARD vs FANATICS, INC.
Location: Stanley Mosk Courthouse
Case Type: Civil Unlimited
Case Category: Other Employment Complaint Case
Jurisdictional Amount: Over $25,000
Notice Generated Date: 06/17/2021
Notice Generated Time: 8:36 am

Documents Electronically Filed/Received                 Status

Complaint                                              Accepted




Summons                                                Rejected
                                                       Reject Reason(s):
                                                       Other: Summons not conformed to Complaint. Please correct and
                                                       re-submit as a subsequent document.




Civil Case Cover Sheet                                 Accepted




Notice (name extension)                                Accepted


                                      NOTICE OF CONFIRMATION OF FILING
    Case 2:21-cv-06508-JFW-SHK Document 1-1 Filed 08/11/21 Page 10 of 38 Page ID #:15




Comments
Submitter's Comments:

Clerk's Comments:

Electronic Filing Service Provider Information
Service Provider: Legal Connect
Contact: Legal Connect
Phone: (800) 909-6859




                                    NOTICE OF CONFIRMATION OF FILING
Case 2:21-cv-06508-JFW-SHK Document 1-1 Filed 08/11/21 Page 11 of 38 Page ID #:16
Case 2:21-cv-06508-JFW-SHK Document 1-1 Filed 08/11/21 Page 12 of 38 Page ID #:17
Case 2:21-cv-06508-JFW-SHK Document 1-1 Filed 08/11/21 Page 13 of 38 Page ID #:18
Case 2:21-cv-06508-JFW-SHK Document 1-1 Filed 08/11/21 Page 14 of 38 Page ID #:19
Case 2:21-cv-06508-JFW-SHK Document 1-1 Filed 08/11/21 Page 15 of 38 Page ID #:20
Case 2:21-cv-06508-JFW-SHK Document 1-1 Filed 08/11/21 Page 16 of 38 Page ID #:21
Case 2:21-cv-06508-JFW-SHK Document 1-1 Filed 08/11/21 Page 17 of 38 Page ID #:22
Case 2:21-cv-06508-JFW-SHK Document 1-1 Filed 08/11/21 Page 18 of 38 Page ID #:23
Case 2:21-cv-06508-JFW-SHK Document 1-1 Filed 08/11/21 Page 19 of 38 Page ID #:24
Case 2:21-cv-06508-JFW-SHK Document 1-1 Filed 08/11/21 Page 20 of 38 Page ID #:25
Case 2:21-cv-06508-JFW-SHK Document 1-1 Filed 08/11/21 Page 21 of 38 Page ID #:26
Case 2:21-cv-06508-JFW-SHK Document 1-1 Filed 08/11/21 Page 22 of 38 Page ID #:27
Case 2:21-cv-06508-JFW-SHK Document 1-1 Filed 08/11/21 Page 23 of 38 Page ID #:28
Case 2:21-cv-06508-JFW-SHK Document 1-1 Filed 08/11/21 Page 24 of 38 Page ID #:29
Case 2:21-cv-06508-JFW-SHK Document 1-1 Filed 08/11/21 Page 25 of 38 Page ID #:30
Case 2:21-cv-06508-JFW-SHK Document 1-1 Filed 08/11/21 Page 26 of 38 Page ID #:31
Electronically FILED by Superior Court of California, County of Los Angeles on 06/16/2021 03:18 PM Sherri R. Carter, Executive Officer/Clerk of Court, by C. Monroe,Deputy Clerk
                  Case 2:21-cv-06508-JFW-SHK Document 1-1 Filed 08/11/21 Page 27 of 38 Page ID #:32
                                                   21STCV22571
                                                                                                CM-010
            ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address):                                                             FOR COURT USE ONLY
               Timothy A. Hall (SBN 227666)
               Law Offices of Hall & Lim, PLC
               16430 Ventura Boulevard, Suite 200
               Encino, California 91436
                                (310) 203-8411
                    TELEPHONE NO.:                       FAX NO.: (310) 203-8412
                                Plaintiff CALEY-RAE PAVILLARD
             ATTORNEY FOR (Name):
          SUPERIOR COURT OF CALIFORNIA, COUNTY OF Los Angeles
              STREET ADDRESS: 111 North Hill Street
              MAILING ADDRESS: 111 North Hill Street
             CITY AND ZIP CODE: Los Angeles, CA 90012

                 BRANCH NAME: Central District - Stanley Mosk Courthouse
               CASE NAME:
               PAVILLARD, CALEY-RAE v. FANATICS, INC.
                                                                                                                                CASE NUMBER:
                  CIVIL CASE COVER SHEET                                        Complex Case Designation
             ✔      Unlimited        Limited
                    (Amount          (Amount                     Counter              Joinder
                                                                                                   JUDGE:
                    demanded         demanded is          Filed with first appearance by defendant
                    exceeds $25,000) $25,000 or less)          (Cal. Rules of Court, rule 3.402)    DEPT:

                                        Items 1–6 below must be completed (see instructions on page 2).
          1. Check one box below for the case type that best describes this case:
                 Auto Tort                                              Contract                                        Provisionally Complex Civil Litigation
                        Auto (22)                                              Breach of contract/warranty (06)         (Cal. Rules of Court, rules 3.400–3.403)
                        Uninsured motorist (46)                                Rule 3.740 collections (09)                     Antitrust/Trade regulation (03)
                 Other PI/PD/WD (Personal Injury/Property                      Other collections (09)                          Construction defect (10)
                 Damage/Wrongful Death) Tort                                   Insurance coverage (18)                         Mass tort (40)
                       Asbestos (04)                                          Other contract (37)                              Securities litigation (28)
                        Product liability (24)                          Real Property                                          Environmental/Toxic tort (30)
                        Medical malpractice (45)                              Eminent domain/Inverse                           Insurance coverage claims arising from the
                      Other PI/PD/WD (23)                                     condemnation (14)                                above listed provisionally complex case
                                                                              Wrongful eviction (33)                           types (41)
                 Non-PI/PD/WD (Other) Tort
                        Business tort/unfair business practice (07)      Other real property (26)                       Enforcement of Judgment
                        Civil rights (08)                           Unlawful Detainer                                          Enforcement of judgment (20)
                        Defamation (13)                                  Commercial (31)                                Miscellaneous Civil Complaint
                        Fraud (16)                                             Residential (32)                                RICO (27)
                        Intellectual property (19)                             Drugs (38)                                      Other complaint (not specified above) (42)
                        Professional negligence (25)                   Judicial Review                                  Miscellaneous Civil Petition
                      Other non-PI/PD/WD tort (35)                           Asset forfeiture (05)
                                                                                                                               Partnership and corporate governance (21)
                 Employment                                                    Petition re: arbitration award (11)
                                                                                                                               Other petition (not specified above) (43)
                      Wrongful termination (36)                                Writ of mandate (02)
                  ✔ Other employment (15)                                      Other judicial review (39)
          2. This case         is      ✔ is not      complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
             factors requiring exceptional judicial management:
             a.       Large number of separately represented parties        d.      Large number of witnesses
             b.       Extensive motion practice raising difficult or novel  e.      Coordination with related actions pending in one or more courts
                      issues that will be time-consuming to resolve                 in other counties, states, or countries, or in a federal court
             c.       Substantial amount of documentary evidence            f.      Substantial postjudgment judicial supervision
          3.     Remedies sought (check all that apply): a. ✔ monetary b.              nonmonetary; declaratory or injunctive relief                                  c.         punitive
          4.     Number of causes of action (specify):
          5.     This case         is    ✔ is not    a class action suit.
          6.     If there are any known related cases, file and serve a notice of related case. (You may use form CM-015.)
                     16 2021
          Date: June ___,
          Timothy A. Hall, Esq.
                                              (TYPE OR PRINT NAME)                                                    (SIGNATURE OF PARTY OR ATTORNEY FOR PARTY)
                                                                                          NOTICE
             • Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed
                 under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal. Rules of Court, rule 3.220.) Failure to file may result
                 in sanctions.
             •   File this cover sheet in addition to any cover sheet required by local court rule.
             •   If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
                 other parties to the action or proceeding.
             •   Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes only.
                                                                                                                                                                                   Page 1 of 2
           Form Adopted for Mandatory Use                                                                                           Cal. Rules of Court, rules 2.30, 3.220, 3.400–3.403, 3.740;
             Judicial Council of California
                                                                        CIVIL CASE COVER SHEET                                              Cal. Standards of Judicial Administration, std. 3.10
              CM-010 [Rev. July 1, 2007]                                                                                                                                  www.courtinfo.ca.gov
       Case 2:21-cv-06508-JFW-SHK Document 1-1 Filed 08/11/21 Page 28 of 38 Page ID #:33
                                                                                                                                      CM-010
                                     INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET
To Plaintiffs and Others Filing First Papers. If you are filing a first paper (for example, a complaint) in a civil case, you must
complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile
statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
To Parties in Rule 3.740 Collections Cases. A "collections case" under rule 3.740 is defined as an action for recovery of money
owed in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in
which property, services, or money was acquired on credit. A collections case does not include an action seeking the following: (1) tort
damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
attachment. The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
time-for-service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
case will be subject to the requirements for service and obtaining a judgment in rule 3.740.
To Parties in Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
plaintiff's designation, a counter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that
the case is complex.
                                                          CASE TYPES AND EXAMPLES
Auto Tort                                       Contract                                           Provisionally Complex Civil Litigation (Cal.
     Auto (22)–Personal Injury/Property             Breach of Contract/Warranty (06)               Rules of Court Rules 3.400–3.403)
          Damage/Wrongful Death                          Breach of Rental/Lease                         Antitrust/Trade Regulation (03)
     Uninsured Motorist (46) (if the                         Contract (not unlawful detainer            Construction Defect (10)
          case involves an uninsured                             or wrongful eviction)                  Claims Involving Mass Tort (40)
          motorist claim subject to                      Contract/Warranty Breach–Seller                Securities Litigation (28)
          arbitration, check this item                       Plaintiff (not fraud or negligence)        Environmental/Toxic Tort (30)
          instead of Auto)                               Negligent Breach of Contract/                  Insurance Coverage Claims
Other PI/PD/WD (Personal Injury/                             Warranty                                       (arising from provisionally complex
Property Damage/Wrongful Death)                          Other Breach of Contract/Warranty                  case type listed above) (41)
Tort                                                Collections (e.g., money owed, open             Enforcement of Judgment
     Asbestos (04)                                       book accounts) (09)                            Enforcement of Judgment (20)
          Asbestos Property Damage                       Collection Case–Seller Plaintiff                   Abstract of Judgment (Out of
                                                         Other Promissory Note/Collections                        County)
          Asbestos Personal Injury/
                Wrongful Death                               Case                                           Confession of Judgment (non-
     Product Liability (not asbestos or             Insurance Coverage (not provisionally                         domestic relations)
          toxic/environmental) (24)                      complex) (18)                                      Sister State Judgment
     Medical Malpractice (45)                            Auto Subrogation                                   Administrative Agency Award
          Medical Malpractice–                           Other Coverage                                         (not unpaid taxes)
                Physicians & Surgeons               Other Contract (37)                                     Petition/Certification of Entry of
          Other Professional Health Care                 Contractual Fraud                                      Judgment on Unpaid Taxes
                Malpractice                              Other Contract Dispute                             Other Enforcement of Judgment
                                                Real Property                                                     Case
     Other PI/PD/WD (23)
          Premises Liability (e.g., slip            Eminent Domain/Inverse                          Miscellaneous Civil Complaint
                and fall)                                Condemnation (14)                              RICO (27)
          Intentional Bodily Injury/PD/WD           Wrongful Eviction (33)                              Other Complaint (not specified
                                                                                                            above) (42)
                (e.g., assault, vandalism)          Other Real Property (e.g., quiet title) (26)
          Intentional Infliction of                                                                         Declaratory Relief Only
                                                         Writ of Possession of Real Property                Injunctive Relief Only (non-
                Emotional Distress                       Mortgage Foreclosure                                     harassment)
          Negligent Infliction of                        Quiet Title
                Emotional Distress                                                                          Mechanics Lien
                                                         Other Real Property (not eminent
          Other PI/PD/WD                                                                                    Other Commercial Complaint
                                                         domain, landlord/tenant, or
                                                                                                                  Case (non-tort/non-complex)
Non-PI/PD/WD (Other) Tort                                foreclosure)
                                                                                                            Other Civil Complaint
     Business Tort/Unfair Business              Unlawful Detainer
                                                                                                                 (non-tort/non-complex)
         Practice (07)                              Commercial (31)
                                                                                                    Miscellaneous Civil Petition
     Civil Rights (e.g., discrimination,            Residential (32)                                    Partnership and Corporate
         false arrest) (not civil                   Drugs (38) (if the case involves illegal                 Governance (21)
          harassment) (08)                               drugs, check this item; otherwise,             Other Petition (not specified
     Defamation (e.g., slander, libel)                   report as Commercial or Residential)               above) (43)
           (13)                                 Judicial Review                                             Civil Harassment
     Fraud (16)                                     Asset Forfeiture (05)                                   Workplace Violence
     Intellectual Property (19)                     Petition Re: Arbitration Award (11)                     Elder/Dependent Adult
     Professional Negligence (25)                   Writ of Mandate (02)                                          Abuse
         Legal Malpractice                               Writ–Administrative Mandamus                       Election Contest
         Other Professional Malpractice                  Writ–Mandamus on Limited Court                     Petition for Name Change
              (not medical or legal)                         Case Matter                                    Petition for Relief From Late
      Other Non-PI/PD/WD Tort (35)                       Writ–Other Limited Court Case                            Claim
Employment                                                   Review                                         Other Civil Petition
     Wrongful Termination (36)                      Other Judicial Review (39)
     Other Employment (15)                               Review of Health Officer Order
                                                         Notice of Appeal–Labor
                                                            Commissioner Appeals
CM-010 [Rev. July 1, 2007]                                                                                                             Page 2 of 2
                                                    CIVIL CASE COVER SHEET
                         Case 2:21-cv-06508-JFW-SHK Document 1-1 Filed 08/11/21 Page 29 of 38 Page ID #:34
 SHORT TITLE:                                                                                                          CASE NUMBER
                                    PAVILLARD, CALEY-RAE v. FANATICS, INC.



                                                   CIVIL CASE COVER SHEET ADDENDUM AND
                                                           STATEMENT OF LOCATION
                                    (CERTIFICATE OF GROUNDS FOR ASSIGNMENT TO COURTHOUSE LOCATION)
                                    This form is required pursuant to Local Rule 2.3 in all new civil case filings in the Los Angeles Superior Court.



             Step 1: After completing the Civil Case Cover Sheet (Judicial Council form CM-010), find the exact case type in
                                       Column A that corresponds to the case type indicated in the Civil Case Cover Sheet.

              Step 2: In Column B, check the box for the type of action that best describes the nature of the case.

             Step 3: In Column C, circle the number which explains the reason for the court filing location you have
                                       chosen.

                                                            Applicable Reasons for Choosing Court Filing Location (Column C)

1. Class actions must be filed in the Stanley Mosk Courthouse, Central District.                       7. Location where petitioner resides.
2. Permissive filing in central district.                                                              8. Location wherein defendant/respondent functions wholly.
3. Location where cause of action arose.                                                               9. Location where one or more of the parties reside.
4. Mandatory personal injury filing in North District.                                               10. Location of Labor Commissioner Office.
                                                                                                     11. Mandatory filing location (Hub Cases – unlawful detainer, limited
5. Location where performance required or defendant resides.
                                                                                                     non-collection, limited collection, or personal injury).
6. Location of property or permanently garaged vehicle.




                                                    A                                                       B                                                        C
                                         Civil Case Cover Sheet                                       Type of Action                                      Applicable Reasons -
                                               Category No.                                          (Check only one)                                      See Step 3 Above

                                                Auto (22)            A7100 Motor Vehicle - Personal Injury/Property Damage/Wrongful Death                1, 4, 11
  Auto
  Tort




                                        Uninsured Motorist (46)      A7110 Personal Injury/Property Damage/Wrongful Death – Uninsured Motorist           1, 4, 11


                                                                     A6070 Asbestos Property Damage                                                      1, 11
                                             Asbestos (04)
                                                                     A7221 Asbestos - Personal Injury/Wrongful Death                                     1, 11
  Other Personal Injury/ Property
  Damage/ Wrongful Death Tort




                                          Product Liability (24)     A7260 Product Liability (not asbestos or toxic/environmental)                       1, 4, 11

                                                                     A7210 Medical Malpractice - Physicians & Surgeons                                   1, 4, 11
                                        Medical Malpractice (45)
                                                                     A7240 Other Professional Health Care Malpractice                                    1, 4, 11


                                                                     A7250 Premises Liability (e.g., slip and fall)
                                                                                                                                                          1, 4, 11
                                            Other Personal
                                            Injury Property          A7230 Intentional Bodily Injury/Property Damage/Wrongful Death (e.g.,
                                                                                                                                                          1, 4, 11
                                           Damage Wrongful                  assault, vandalism, etc.)
                                              Death (23)                                                                                                  1, 4, 11
                                                                     A7270 Intentional Infliction of Emotional Distress
                                                                                                                                                          1, 4, 11
                                                                     A7220 Other Personal Injury/Property Damage/Wrongful Death




    LASC CIV 109 Rev. 12/18
                                                                   CIVIL CASE COVER SHEET ADDENDUM                                                     Local Rule 2.3

    For Mandatory Use
                                                                      AND STATEMENT OF LOCATION                                                           Page 1 of 4
                     Case 2:21-cv-06508-JFW-SHK Document 1-1 Filed 08/11/21 Page 30 of 38 Page ID #:35
SHORT TITLE:                                                                                                      CASE NUMBER
                                  PAVILLARD, CALEY-RAE v. FANATICS, INC.


                                                A                                                         B                                              C Applicable
                                      Civil Case Cover Sheet                                        Type of Action                                    Reasons - See Step 3
                                            Category No.                                           (Check only one)                                         Above

                                        Business Tort (07)          A6029 Other Commercial/Business Tort (not fraud/breach of contract)              1, 2, 3
  Non-Personal Injury/ Property
  Damage/ Wrongful Death Tort




                                         Civil Rights (08)          A6005 Civil Rights/Discrimination                                                1, 2, 3

                                         Defamation (13)            A6010 Defamation (slander/libel)                                                 1, 2, 3

                                            Fraud (16)              A6013 Fraud (no contract)                                                        1, 2, 3

                                                                    A6017 Legal Malpractice                                                          1, 2, 3
                                   Professional Negligence (25)
                                                                    A6050 Other Professional Malpractice (not medical or legal)                      1, 2, 3

                                            Other (35)              A6025 Other Non-Personal Injury/Property Damage tort                             1, 2, 3

                                    Wrongful Termination (36)       A6037 Wrongful Termination                                                       1, 2, 3
        Employment




                                                                   
                                                                   ✔ A6024 Other Employment Complaint Case                                            1, 2, 3
                                      Other Employment (15)
                                                                    A6109 Labor Commissioner Appeals                                                 10

                                                                    A6004 Breach of Rental/Lease Contract (not unlawful detainer or wrongful
                                                                                                                                                      2, 5
                                                                           eviction)
                                   Breach of Contract/ Warranty                                                                                       2, 5
                                               (06)                 A6008 Contract/Warranty Breach -Seller Plaintiff (no fraud/negligence)
                                         (not insurance)                                                                                              1, 2, 5
                                                                    A6019 Negligent Breach of Contract/Warranty (no fraud)
                                                                                                                                                      1, 2, 5
                                                                    A6028 Other Breach of Contract/Warranty (not fraud or negligence)
        Contract




                                                                    A6002 Collections Case-Seller Plaintiff                                          5, 6, 11
                                         Collections (09)
                                                                    A6012 Other Promissory Note/Collections Case                                     5, 11
                                                                      A6034 Collections Case-Purchased Debt (Charged Off Consumer Debt               5, 6, 11
                                                                             Purchased on or after January 1, 2014)
                                     Insurance Coverage (18)        A6015 Insurance Coverage (not complex)                                           1, 2, 5, 8

                                                                    A6009 Contractual Fraud                                                          1, 2, 3, 5
                                       Other Contract (37)          A6031 Tortious Interference                                                      1, 2, 3, 5
                                                                    A6027 Other Contract Dispute(not breach/insurance/fraud/negligence)              1, 2, 3, 8, 9

                                     Eminent Domain/Inverse
                                                                    A7300 Eminent Domain/Condemnation                Number of parcels               2, 6
                                       Condemnation (14)
        Real Property




                                      Wrongful Eviction (33)        A6023 Wrongful Eviction Case                                                     2, 6

                                                                    A6018 Mortgage Foreclosure                                                       2, 6
                                     Other Real Property (26)       A6032 Quiet Title                                                                2, 6
                                                                    A6060 Other Real Property (not eminent domain, landlord/tenant, foreclosure)     2, 6

                                   Unlawful Detainer-Commercial
                                                                    A6021 Unlawful Detainer-Commercial (not drugs or wrongful eviction)              6, 11
                                               (31)
        Unlawful Detainer




                                   Unlawful Detainer-Residential
                                                                    A6020 Unlawful Detainer-Residential (not drugs or wrongful eviction)             6, 11
                                               (32)
                                       Unlawful Detainer-
                                                                    A6020F Unlawful Detainer-Post-Foreclosure                                        2, 6, 11
                                      Post-Foreclosure (34)

                                   Unlawful Detainer-Drugs (38)     A6022 Unlawful Detainer-Drugs                                                    2, 6, 11



                                                                   CIVIL CASE COVER SHEET ADDENDUM                                                  Local Rule 2.3
 LASC CIV 109 Rev. 12/18
                                                                      AND STATEMENT OF LOCATION                                                       Page 2 of 4
 For Mandatory Use
                             Case 2:21-cv-06508-JFW-SHK Document 1-1 Filed 08/11/21 Page 31 of 38 Page ID #:36
SHORT TITLE:                           PAVILLARD, CALEY-RAE v. FANATICS, INC.                                            CASE NUMBER




                                                       A                                                        B                                 C Applicable
                                            Civil Case Cover Sheet                                        Type of Action                       Reasons - See Step 3
                                                  Category No.                                           (Check only one)                            Above

                                             Asset Forfeiture (05)         A6108 Asset Forfeiture Case                                        2, 3, 6

                                          Petition re Arbitration (11)     A6115 Petition to Compel/Confirm/Vacate Arbitration                2, 5
    Judicial Review




                                                                           A6151 Writ - Administrative Mandamus                               2, 8
                                             Writ of Mandate (02)          A6152 Writ - Mandamus on Limited Court Case Matter                 2
                                                                           A6153 Writ - Other Limited Court Case Review                       2

                                          Other Judicial Review (39)       A6150 Other Writ /Judicial Review                                  2, 8

                                        Antitrust/Trade Regulation (03)    A6003 Antitrust/Trade Regulation                                   1, 2, 8
    Provisionally Complex Litigation




                                           Construction Defect (10)        A6007 Construction Defect                                          1, 2, 3

                                          Claims Involving Mass Tort
                                                                           A6006 Claims Involving Mass Tort                                   1, 2, 8
                                                     (40)

                                           Securities Litigation (28)      A6035 Securities Litigation Case                                   1, 2, 8

                                                  Toxic Tort
                                                                           A6036 Toxic Tort/Environmental                                     1, 2, 3, 8
                                              Environmental (30)

                                         Insurance Coverage Claims
                                                                           A6014 Insurance Coverage/Subrogation (complex case only)           1, 2, 5, 8
                                           from Complex Case (41)

                                                                           A6141 Sister State Judgment                                        2, 5, 11
                                                                           A6160 Abstract of Judgment                                         2, 6
 Enforcement
 of Judgment




                                                 Enforcement               A6107 Confession of Judgment (non-domestic relations)              2, 9
                                               of Judgment (20)            A6140 Administrative Agency Award (not unpaid taxes)               2, 8
                                                                           A6114 Petition/Certificate for Entry of Judgment on Unpaid Tax     2, 8
                                                                           A6112 Other Enforcement of Judgment Case                           2, 8, 9

                                                  RICO (27)                A6033 Racketeering (RICO) Case                                     1, 2, 8
 Civil Complaints
  Miscellaneous




                                                                           A6030 Declaratory Relief Only                                      1, 2, 8

                                              Other Complaints             A6040 Injunctive Relief Only (not domestic/harassment)             2, 8
                                          (Not Specified Above) (42)       A6011 Other Commercial Complaint Case (non-tort/non-complex)       1, 2, 8
                                                                           A6000 Other Civil Complaint (non-tort/non-complex)                 1, 2, 8

                                           Partnership Corporation
                                                                           A6113 Partnership and Corporate Governance Case                    2, 8
                                              Governance (21)

                                                                           A6121 Civil Harassment With Damages                                2, 3, 9
 Miscellaneous
 Civil Petitions




                                                                           A6123 Workplace Harassment With Damages                            2, 3, 9
                                                                           A6124 Elder/Dependent Adult Abuse Case With Damages                2, 3, 9
                                             Other Petitions (Not
                                            Specified Above) (43)          A6190 Election Contest                                             2
                                                                           A6110 Petition for Change of Name/Change of Gender                 2, 7
                                                                           A6170 Petition for Relief from Late Claim Law                      2, 3, 8
                                                                           A6100 Other Civil Petition                                         2, 9




                                                                          CIVIL CASE COVER SHEET ADDENDUM                                    Local Rule 2.3
 LASC CIV 109 Rev. 12/18
                                                                             AND STATEMENT OF LOCATION                                         Page 3 of 4
 For Mandatory Use
         Case 2:21-cv-06508-JFW-SHK Document 1-1 Filed 08/11/21 Page 32 of 38 Page ID #:37
 SHORT TITLE:                                                                           CASE NUMBER
                PAVILLARD, CALEY-RAE v. FANATICS, INC.



Step 4: Statement of Reason and Address: Check the appropriate boxes for the numbers shown under Column C for the
              type of action that you have selected. Enter the address which is the basis for the filing location, including zip code.
              (No address required for class action cases).

                                                                      ADDRESS:
   REASON:                                                                                   347 S. Clarence St.
                                                                                           Los Angeles, CA 90033
     ✔   1.     2.   3.   4.    5.   6.   7.   8.   9.   10.    11.



   CITY:                                       STATE:     ZIP CODE:


   Los Angeles                                 CA        90033

Step 5: Certification of Assignment: I certify that this case is properly filed in the       Central                      District of
              the Superior Court of California, County of Los Angeles [Code Civ. Proc., §392 et seq., and Local Rule 2.3(a)(1)(E)].




  Dated: June        16, 2021
                                                                                    (SIGNATURE OF ATTORNEY/FILING PARTY)




  PLEASE HAVE THE FOLLOWING ITEMS COMPLETED AND READY TO BE FILED IN ORDER TO PROPERLY
  COMMENCE YOUR NEW COURT CASE:

         1. Original Complaint or Petition.
         2. If filing a Complaint, a completed Summons form for issuance by the Clerk.
         3. Civil Case Cover Sheet, Judicial Council form CM-010.

         4. Civil Case Cover Sheet Addendum and Statement of Location form, LACIV 109, LASC Approved 03-04 (Rev.
            02/16).
         5. Payment in full of the filing fee, unless there is court order for waiver, partial or scheduled payments.
         6. A signed order appointing the Guardian ad Litem, Judicial Council form CIV-010, if the plaintiff or petitioner is a
            minor under 18 years of age will be required by Court in order to issue a summons.

         7. Additional copies of documents to be conformed by the Clerk. Copies of the cover sheet and this addendum
            must be served along with the summons and complaint, or other initiating pleading in the case.




                                               CIVIL CASE COVER SHEET ADDENDUM                                          Local Rule 2.3
  LASC CIV 109 Rev. 12/18
                                                  AND STATEMENT OF LOCATION                                                Page 4 of 4
  For Mandatory Use
Case 2:21-cv-06508-JFW-SHK Document 1-1 Filed 08/11/21 Page 33 of 38 Page ID #:38
Case 2:21-cv-06508-JFW-SHK Document 1-1 Filed 08/11/21 Page 34 of 38 Page ID #:39
   Case 2:21-cv-06508-JFW-SHK Document 1-1 Filed 08/11/21 Page 35 of 38 Page ID #:40
                                                                                 R e se r ved f or C ler k ’ s F i le S tam p
          SUPERIOR COURT OF CALIFORNIA
             COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:

Stanley Mosk Courthouse
111 North Hill Street, Los Angeles, CA 90012
PLAINTIFF(S):

Caley-Rae Pavillard
DEFENDANT(S):

Fanatics, Inc.
                                                                              CASE NUMBER:
                         ORDER TO SHOW CAUSE HEARING
                                                                             21STCV22571

To the party / attorney of record:
You are ordered to appear for an Order to Show Cause Hearing on __________     ________
                                                                 08/24/2021 at 8:30 AM in
          56
department____of             Stanley Mosk Courthouse
                 this court, ____________________________________________________________,
and show cause why sanctions should not be imposed for:
[✔]      Failure to file proof of service.

Failure to comply or appear may result in sanctions pursuant to one or more of the following: California
Rules of Court, rule 2.30 and rule 3.1340; Code of Civil Procedure sections 177.5, 575.2, 583.150,
583.310, 583.360, 583.410, 583.420, 583.430; and Government Code section 68608.

[✔]      To avoid a mandatory appearance all required documents must be filed at least 5 days prior to the
         date of the hearing.




          06/21/2021
Dated: _______________                              ____________________________________________
                                                                      Judicial Officer




                                         ORDER TO SHOW CAUSE HEARING
LACIV 166 (Rev. 09/08)                                                                    Cal. Rules of Court, rule 2.30
LASC Approved 06-04                                                                       LASC Local Rules, Chapter 7
 Case 2:21-cv-06508-JFW-SHK Document 1-1 Filed 08/11/21 Page 36 of 38 Page ID #:41
                                                                                 Reserved for Clerk’s File Stamp
            SUPERIOR COURT OF CALIFORNIA
               COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:
Stanley Mosk Courthouse
111 North Hill Street, Los Angeles, CA 90012
PLAINTIFF/PETITIONER:
Caley-Rae Pavillard
DEFENDANT/RESPONDENT:
Fanatics, Inc.
                                                                           CASE NUMBER:
                        CERTIFICATE OF MAILING                             21STCV22571

I, the below-named Executive Officer/Clerk of the above-entitled court, do hereby certify that I am not a
party to the cause herein, and that on this date I served the Order to Show Cause Failure to File Proof of
Service upon each party or counsel named below by placing the document for collection and mailing so as
to cause it to be deposited in the United States mail at the courthouse in Los Angeles, California, one copy
of the original filed/entered herein in a separate sealed envelope to each address as shown below with the
postage thereon fully prepaid, in accordance with standard court practices.




    Timothy A. Hall
    LAW OFFICES OF HALL & LIM
    16430 Ventura Blvd.
    Suite 200
    Encino, CA 91436




                                                    Sherri R. Carter, Executive Officer / Clerk of Court
Dated: 06/21/2021                                    By:   B. Chavez
                                                           Deputy Clerk




                                     CERTIFICATE OF MAILING
Case 2:21-cv-06508-JFW-SHK Document 1-1 Filed 08/11/21 Page 37 of 38 Page ID #:42
Case 2:21-cv-06508-JFW-SHK Document 1-1 Filed 08/11/21 Page 38 of 38 Page ID #:43
